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 5   Attorney for Defendant
     HENRI BERGER
 6

 7                                UNITED STATES DISTRICT COURT

 8                               NORTHERN DISTRICT OF CALIFORNIA

 9                                        OAKLAND DIVISION

10

11 UNITED STATES OF AMERICA,                                No. CR-05 00334 SBA [WBD]

12                  Plaintiff,                              [PROPOSED] ORDERS DIRECTING
                                                            U.S. MARSHAL TO ARRANGE FOR
13          vs.                                             NON-CUSTODIAL TRANSPORTATION

14 HENRI BERGER,
        a/k/a Sir Richard Benson
15
                Defendant.
16                                                 /

17          Defendant, Henri Berger, being required to appear in this Court on October 11, 2005,

18 having qualified for appointed legal representation, and good cause appearing therefor, IT IS

19 ORDERED that the United Sates Marshal for the Northern District of California arrange a one-

20 way non-custodial air transportation for Mr. Berger to travel from Oakland to Los Angeles

21 County to Oakland on October 11, 2005. Alternatively, the United States Marshal may furnish

22 the necessary fare for Mr. Berger’s trip in lieu of providing such transportation.
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24 Dated: October 5, 2005                                                                ERED
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27                                                        _______________________________
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                                                          WAYNE D. BRAZIL
28                                                        United States Magistrate Judge

     APPLICATION/ORDER RE: TRANSPORTATION
